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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

                                               )
UNITED STATES OF AMERICA                       )
                                               )
       v.                                      )
                                               )       Case No. 22-mj-4446-DHH
JASON DUHAIME,                                 )
                                               )
       Defendant.                              )
                                               )

                          GOVERNMENT’S MOTION TO UNSEAL

       The United States Attorney hereby moves to unseal the arrest warrant, the criminal

complaint and supporting affidavit, and all other related paperwork in this matter. As grounds for

this motion, the government states that the defendant is in custody and, therefore, there is no longer

a need to maintain these documents under seal.

                                                       Respectfully submitted,


                                                       RACHAEL S. ROLLINS
                                                       United States Attorney

                                                   By: /s/ Jason A. Casey
                                                       JASON A. CASEY
                                                       Assistant U.S. Attorney

Date: October 4, 2022


So ordered.


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DAVID H. HENNESSY
              SSY
                Y
UNITED STATES MAGISTRATE
              MAGIST
                  ST
                   TRAT JUDGE
                    RATE
                      TE JUD
Oct 4, 2022
